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                     EXHIBIT A
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      to the establishment, etc. of the exclusive publication right of database, respectively.



      [This Article Wholly Amended by Act No. 11110, Dec. 2, 2011]


                                       Article 97 (Statutory License for Use of Database)



      The provisions of



      and



      shall apply



      to the use of database.


                                   Article 98 (Registration of Rights of Database Producers)




      and



      shall apply



      to the registration of rights of database [*106] producers and the exclusive publication right of database
producer’s right. In such cases, the term "copyright register" in



      shall be construed as "database producer's right register".



      <Amended by Act No. 9625, Apr. 22, 2009; Act No. 11110, Dec. 2, 2011>



      CHAPTER V SPECIAL CASES CONCERNING CINEMATOGRAPHIC WORKS


                                              Article 99 (Cinematization of Works)


(1)   If the holder of author’s economic right authorizes another person to exploit his/her work by means of cinematization, such
      authorization shall be presumed to include the following rights, unless otherwise expressly stipulated:
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                                1.   To dramatize a work for the production of a cinematographic work;


                           2.     To publicly screen a cinematographic work aiming at a public screening;


                                [*107] 3.   To broadcast a cinematographic work aiming at broadcasting;


                    4.   To interactively transmit a cinematographic work aiming at a interactive transmission;


                         5.     To reproduce and distribute a cinematographic work for its original purpose;


           6.   To exploit the translation of a cinematographic work in the same manner as the cinematographic work.


(2)   If the holder of author’s economic right authorizes a person to exploit his/her work by means of cinematization, unless
      otherwise stipulated, he/she may authorize, after the lapse of five years from the date of his/her authorization, the
      cinematization of the work in another form of cinematographic work.


                                            Article 100 (Rights to Cinematographic Works)
      [*108]
(1)   Where a producer of a cinematographic work and a person who agreed to cooperate in the production of a
      cinematographic work have obtained a copyright to the said cinematographic work, the rights necessary for the exploitation
      of such cinematographic work shall be presumed to have been transferred to the producer of the cinematographic work
      unless otherwise expressly stipulated.


(2)   The copyright to a novel, play, work of art or musical work used for the production of a cinematographic work shall not be
      affected by the provision of paragraph (1).


(3)   The right to reproduce under Article 69, the right to distribute under Article 70, the right to broadcast under Article 73, and
      the right to interactively transmit under Article 74 with regard to the use of a cinematographic work of a performer who
      agreed with the producer of a cinematographic work to cooperate in the production of a cinematographic work shall be
      presumed to [*109] have been transferred to the producer of cinematographic works, unless otherwise expressly
      stipulated.


                                     Article 101 (Rights of Producers of Cinematographic Works)


(1)   Rights necessary for the exploitation of a cinematographic work to be transferred by a person, who agreed to cooperate in
      the production of a cinematographic work, to a producer of a cinematographic work shall be the right to exploit the
      cinematographic work by means of reproduction, distribution, public presentation, broadcasting, interactive transmission,
      and others, and the said producer may transfer the rights, or establish the pledge thereon.


(2)   The right to be transferred from a performer to a producer of a cinematographic work shall be the right to reproduce,
      distribute, broadcast or interactive transmit the said cinematographic work, and it may be interactively transferred or a
      pledge may be established thereon.
      [*110]
